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   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
       ANDREW BOYD, III, individually and               CASE NO. 2:25-CV-01288
  11   on behalf of all others similarly situated,
                                                        [PROPOSED] ORDER
  12
                                  Plaintiff,            GRANTING STIPULATION TO
  13                                                    EXTEND TIME FOR
             vs.                                        DEFENDANT TO RESPOND TO
  14
                                                        COMPLAINT FOR AN
  15   SALEM MEDIA GROUP, INC.,                         ADDITIONAL 45 DAYS
  16
                                  Defendant.            Complaint served: February 20, 2025
  17                                                    Current response date: March 13,
  18                                                    2025
                                                        New response date: April 27, 2025
  19
  20         Pursuant to the Stipulation to Extend Defendant Salem Media Group Inc.’s
  21   time to respond to the Complaint by an additional 45 days, and good cause
  22   appearing, Defendant’s time to answer, move, or otherwise respond to Plaintiff’s
  23   Complaint is extended up to and including April 27, 2025.
  24         IT IS SO ORDERED.
  25
       Dated: _____________
  26
                                                            Honorable Anne Hwang
  27
  28
                                                 -1-
       [PROPOSED] ORDER GRANTING STIPULATION TO EXTEND TIME FOR DEFENDANT
       TO RESPOND TO COMPLAINT                            Case No.2:25-cv-01288
